                                     No. 23-12155

                 UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

                                 August Dekker et al.,
                                 Plaintiffs-Appellees,

                                           v.

             Secretary, Florida Agency for Health Care Administration et al.,
                                Defendants-Appellants.

     U.S. District Court for the Northern District of Florida, No. 4:22-cv-325
                                    (Hinkle, J.)



       DEFENDANTS-APPELLANTS’ SUPPLEMENTAL BRIEF


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                                        No. 23-12155
             CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT
       Under Rule 26.1 and Circuit Rule 26.1, Defendants-Appellants certify that the

certificates in their initial and reply briefs are complete.

Dated: July 11, 2025

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                                     ARGUMENT

       This Court asked whether two recent U.S. Supreme Court cases, Medina v. Planned

Parenthood South Atlantic and United States v. Skrmetti, impact this appeal. They do. Medina

forecloses Plaintiffs’ Medicaid Act challenges to Florida’s gender-dysphoria laws, and

Skrmetti forecloses their equal-protection challenge.

                                             I.

       Plaintiffs’ Medicaid Act challenges concern (1) the Act’s early and periodic

screening, diagnostic, and treatment service requirements, and (2) the Act’s

comparability requirements. Doc.1 at 80-81. Plaintiffs used 42 U.S.C. § 1983 as the

statutory basis to bring the claims. See Doc.1 ¶ 277 (the Florida laws “violate[] the

Medicaid Act’s EPSDT requirements, 42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43)(C),

1396d(a)(4)(B), and 1396d(r)(5), which are enforceable by Plaintiffs under 42 U.S.C.

§ 1983”); Doc.1 ¶ 280 (the Florida laws “violate the Medicaid Act’s Comparability

Requirements, 42 U.S.C. § 1396a(a)(10)(B)(i), which is enforceable by Plaintiffs under

42 U.S.C. § 1983”); Doc.233 at 78-79 (same).

       The Supreme Court’s decision in Medina now limits § 1983’s use in Medicaid Act

challenges. No. 23-1275, 2025 U.S. LEXIS 2492 (2025). When a State purportedly

“violates” a Medicaid “condition,” the Court said, the “typical remedy is not a private

enforcement suit” under § 1983, “but rather action by the Federal Government to

terminate funds to the State.” Id. at *10-11 (cleaned up); see also Reply Br. at 19-20.


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       True, there’s an exception to this rule—but it’s “rare,” “atypical,” and analyzed

under a “stringent and demanding” standard. Id. at *13-14 (cleaned up). For a purported

Medicaid Act violation, a private plaintiff can bring a private enforcement suit under

§ 1983 only when the at-issue Medicaid provisions “clearly and unambiguously use[]

rights creating terms.” Id. (cleaned up).

       “Clearly and unambiguously” means “clearly and unambiguously.” It matters

whether the at-issue provisions include words like “right” and “rights.” That was the

case in Health & Hospital Corporation v. Talevski, 599 U.S. 166, 186 (2023), where the at-

issue provisions contained words, titles, and phrases like “requirements relating to

residents’ rights,” “protect and promote” residents’ “right to be free from” unnecessary

“physical or chemical restraints,” and “transfer and discharge rights.” Medina, 2025 U.S.

LEXIS 2492, at *24 (cleaned up, emphases added). In that rare and atypical case, the

Supreme Court found that a plaintiff could bring a private enforcement suit under

§ 1983 (albeit for a Federal Nursing Home Reform Act violation).

       But anything short of some clear and unambiguous rights-creating language

prevents a private enforcement suit under § 1983. That was the case in Medina. The at-

issue Medicaid provisions in Medina looked nothing like the at-issue provisions in

Talevski. The Medina provisions contained no clear and unambiguous rights-creating

language. Id. At most, the Medina provisions merely spoke “to what a State must do to

participate in Medicaid” and acknowledged that “a State that fails to fulfill its duty might

lose federal funding.” Id. at *25. That wasn’t good enough.
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       So too here. Neither the EPSDT nor comparability provisions meet the stringent

and demanding standard. The words “right” and “rights” are absent from the

provisions. ‘Specified rights’ aren’t detailed in the text. There’s no duty for the State to

‘protect and promote the rights of each’ Medicaid recipient. Nor is there a ‘right to

choose’ contemplated in the text of the EPSDT and comparability provisions. Id. at

*25-26.

       Instead, the EPSDT and comparability provisions “speak[] to what a State must

do to participate in Medicaid”—provide certain services based on certain guidelines—

“and a State that fails to fulfill its duty might lose federal funding. Doubtless, too, th[ese]

provision[s] seek[] to benefit both providers and patients. But missing from” the

provisions is “clear and unambiguous rights-creating language.” Id. (cleaned up).

       With no rights-creating language, Plaintiffs’ Medicaid-related § 1983 challenges

must fail. That said, Plaintiffs can still persuade the Health and Human Services

“Secretary” to “withhold some or all of the State’s federal funding until he is satisfied

that there will no longer be any such failure to comply” (purportedly) with the Medicaid

Act. Id. at *9 (cleaned up). That’s what Congress envisioned when it struck the Medicaid

“bargain” with States in 1965. Id. at *8 (cleaned up). Anything else goes beyond that

bargain, the Medicaid Act’s terms, and the scope of § 1983 relief.

                                              II.

       Skrmetti forecloses Plaintiffs’ equal-protection challenge. In that case, the

Supreme Court confronted a State law that banned minors from receiving certain
                                              3
procedures for gender dysphoria, such as puberty blockers and cross-sex hormones.

222 L. Ed. 2d 136, 148 (2025). The Supreme Court held that the law was subject to

rational-basis review and easily survived rational-basis review.

       That’s because the law turned (in part) on a medical diagnosis—gender

dysphoria—and not sex. Id. at 150-51. “Healthcare providers may administer puberty

blockers or hormones to minors to treat certain conditions but not to treat gender

dysphoria, gender identity disorder, or gender incongruence,” the Court said, and

“[c]lassifications that turn on” “medical use are subject to only rational basis review.”

Id. at 151.

       There were good reasons for the State law in Skrmetti. The State legislature

“concluded that there is an ongoing debate among medical experts regarding the risks

and benefits associated with administering puberty blockers and hormones to treat

gender dysphoria, gender identity disorder, and gender incongruence.” Id. at 158-59.

The law’s “ban on such” procedures “responds directly to that uncertainty.” Id. at 159.

Indeed, federal courts “afford States ‘wide discretion to pass legislation in areas where

there is medical and scientific uncertainty.’” Id. (quoting Gonzales v. Carhart, 550 U.S.

124, 163 (2007)).

       Skrmetti (like Eknes-Tucker from this Court, 80 F.4th 1205 (11th Cir. 2023)) makes

clear that Plaintiffs’ equal-protection challenge is subject to rational-basis review and

that Florida’s regulation easily passes muster. Like the Skrmetti law, Florida’s regulation

and legislation turn on a medical diagnosis. So, as in Skrmetti, rational-basis review
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applies. And just as in Skrmetti, the same rationales that undergirded the Skrmetti law

undergird the State regulation and legislation here. There’s no medical consensus on

gender-dysphoria procedures. Those procedures can cause permanent, negative

consequences for patients. The State gets wide berth to take the steps it deems necessary

to protect its citizens.

       Plaintiffs may argue that Skrmetti is only a case about minors. This appeal, by

comparison, concerns minors and adults. That difference doesn’t matter, though. As

the State made plain in its appellate briefing, there’s no medical consensus when it

comes to adult gender-dysphoria procedures, either. Even Plaintiffs’ preferred

organizations recognize this. The World Professional Association for Transgender

Health, for example, acknowledged that the “empirical evidence base for the assessment

of” transgender and gender diverse adults “is limited,” and that the “intervention-

specific risks associated with the presence of specific physical conditions have not been

well researched.” Int. Br. at 6 (quoting WPATH). These experimental procedures raise

concerns for minors and adults alike, and the State gets to protect its minor and adult

citizens from such procedures.

       Plaintiffs may also argue that Skrmetti left any animus issues unresolved. 222 L.

Ed. 2d at 154 (“No such argument has been raised here.”). But that doesn’t assist

Plaintiffs. As explained in the State’s briefs, the district court didn’t perform an

appropriate Arlington Heights intentional discrimination analysis. See Reply Br. at 6-7.

And Plaintiffs’ slap-dash animus analysis in their answer brief—cobbling together extra-
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record, hearsay articles and materials, along with a reimagining of the record—doesn’t

get the job done for the first time on appeal. See Reply Br. at 6-13 (detailing the faults

in the answer brief). Even the amicus brief from the Biden Administration seemingly

recognized that Plaintiffs (and the district court) fall far short of their intentional

discrimination claim. U.S. Amicus Br. at 28-29. (That amicus brief is now withdrawn,

23-12155, Doc.143 (11th Cir. Feb. 28, 2025).) Put simply, even if Plaintiffs vigorously

press an animus issue on appeal, though they decided to give it short shrift below, the

attempt on appeal must fail. As explained in the State’s reply brief, a mulligan isn’t

warranted here. Reply Br. at 15-16.

       One final point. At oral argument, this Court asked whether transgender status

is a quasi-protected classification. The Skrmetti Court found that this question wasn’t at

issue in that case. Again, the Skrmetti law turned (in part) on a medical diagnosis, not

transgender status. 222 L. Ed. 2d at 155. That applies to Florida’s regulation and

legislation. They, too, turn on a medical diagnosis, not transgender status. The status

quo of quasi-suspect classifications thus remains: no new quasi-suspect classification

has been recognized in over forty years. Id. at 175 (Barrett, J., concurring).

                                      *      *      *

       Because of the two recent Supreme Court cases, and for the reasons detailed in

the State’s initial, reply, supplemental briefs, and oral argument, this Court should

reverse the district court’s final order and judgment.


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Dated: July 11, 2025       Respectfully Submitted,

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                       CERTIFICATE OF COMPLIANCE

      This brief is shorter than ten, single-spaced pages. It also complies with Rule

32(a)(5)-(6) because it’s prepared in a proportionally spaced face using Microsoft Word

2016 in 14-point Garamond font.

Dated: July 11, 2025                            /s/ Mohammad O. Jazil
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                           CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was filed using this Court’s CM/ECF, which

will automatically serve a copy to all counsel of record.

Dated: July 11, 2025                            /s/ Mohammad O. Jazil
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